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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                               Case No. 3:22-cr-62/MCR

TIMOTHY IVEY KNOX,

     Defendant.
_____________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, TIMOTHY IVEY KNOX, to Counts One, Two, and Three of the

indictment is hereby ACCEPTED. All parties shall appear before this Court for

sentencing as directed.

       DONE and ORDERED this 20th day of October 2022.



                                M. Casey Rodgers
                               M. CASEY RODGERS
                               UNITED STATES DISTRICT JUDGE
